        Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 1 of 49 PageID #:1



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS


   TOM KALLAS, ADRIAN AGUILAR,
   DORIE LELAND, BILL MUSSEY,
   MARILYN WHITEHEAD,                                  Case No.: 1:24-cv-05384
   CASSANDRA GILLEYLEN-BOWENS,
   MEGAN ZUMBACH, HANS STIRITZ,                        COMPLAINT-CLASS ACTION
   WILLIAM T. STIRITZ, and JOHN G.
   STIRITZ, individually and on behalf of all          JURY TRIAL DEMANDED
   others similarly situated;

                            Plaintiffs,

   v.

   CDK Global, LLC, a Delaware entity,

                            Defendant.

                         PLAINTIFFS’ CLASS ACTION COMPLAINT

         Plaintiffs Tom Kallas, Adrian Aguilar, Dorie Leland, Bill Mussey, Marilyn Whitehead,

Cassandra Gilleylen-Bowens, Megan Zumbach, Hans Stiritz, William T. Stiritz, and John G.

Stiritz (“Plaintiffs”) bring this Class Action Complaint against CDK Global, LLC (“CDK” or

“Defendant”), individually and on behalf of all others similarly situated (“Class Members”), and

alleges, upon personal knowledge as to their own actions and their counsel’s investigations, and

upon information and belief as to all other matters:

                                          INTRODUCTION

         1.      Plaintiff brings this class action against Defendant for its failure to properly secure

and safeguard personally identifiable information including, but not limited to, Plaintiffs’ and

Class Members’ full names and Social Security numbers (collectively, “PII” or “Private

Information”).

         2.      Defendant is a software development firm that sells its products to car dealerships,


                                                  1
     Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 2 of 49 PageID #:2



amongst other companies. To manage and keep track of its client’s data, CDK collects and

maintains Private Information from Plaintiffs and Class Members.

       3.      On June 19, 2024, Defendant was subject to a cyberattack (the “Data Breach”).

Defendant investigated the Data Breach and confirmed that an unauthorized actor accessed

Defendant’s systems and still has access to files that included the following: name, address,

financial information, and Social Security number.

       4.      Defendant did not send notice of the Data Breach yet.

       5.      Plaintiffs bring this class action lawsuit on behalf of themselves and those similarly

situated to address Defendant’s inadequate safeguarding of Class Members’ Personal Information

that it collected and maintained, and for failing to provide adequate notice to Plaintiffs and other

Class Members that their information was likely accessed by an unknown third party and precisely

what specific type of information was accessed.

       6.      Defendant maintained the Private Information in a reckless and negligent manner.

In particular, the Private Information was maintained on Defendant’s computer system and

network in a condition vulnerable to cyberattack. Upon information and belief, the mechanism of

the Data Breach and potential for improper disclosure of Plaintiffs’ and Class Members’ Personal

Information was a known risk to Defendant and thus Defendant was on notice that failing to take

steps necessary to secure the Personal Information from those risks left that information in a

dangerous condition.

       7.      Because of the Data Breach, Plaintiffs and Class Members suffered ascertainable

losses in the form of the loss of the benefit of their bargain, out-of-pocket expenses, and the value

of their time reasonably incurred to remedy or mitigate the effects of the attack and the substantial

and imminent risk of identity theft.

       8.      By obtaining, collecting, using, and profiting from the Private Information of


                                                2
     Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 3 of 49 PageID #:3



Plaintiffs and Class Members, Defendant assumed legal and equitable duties to those individuals

to protect and safeguard that information from unauthorized access and intrusion. Defendant

admits that the unencrypted Private Information impacted during the Data Breach.

       9.      The exposed Private Information of Plaintiffs and Class Members can-and likely

will-be sold on the dark web. Indeed, Plaintiffs’ and Class Members’ Private Information has likely

already been published on the dark web.

       10.     Hackers can offer for sale the unencrypted, unredacted Private Information to

criminals. Plaintiffs and Class Members now face a lifetime risk of identity theft, which is

heightened here by the loss of Social Security numbers—the gold standard for identity thieves.

       11.     This Private Information was compromised because of Defendant’s negligent

and/or careless acts and omissions and the failure to protect the Private Information of Plaintiffs

and Class Members. In addition to Defendant’s failure to prevent the Data Breach, after

discovering the breach, Defendant waited two months to report it to government agencies and

affected individuals.

       12.     Because of this delayed response, Plaintiffs and Class Members had no idea their

Private Information had been compromised, and that they were, and continue to be, at significant

risk of identity theft and various other forms of personal, social, and financial harm. The risk will

remain for their lifetimes.

       13.     Plaintiffs bring this action on behalf of all persons whose Private Information was

compromised Because of Defendant’s failure to: (i) adequately protect the Private Information of

Plaintiffs and Class Members; (ii) warn Plaintiffs and Class Members of Defendant’s inadequate

information security practices; and (iii) effectively secure hardware containing protected Private

Information using reasonable and effective security procedures free of vulnerabilities and

incidents. Defendant’s conduct amounts to negligence and violates federal and state statutes.

       14.     Plaintiffs and Class Members have suffered injury Because of Defendant’s conduct.


                                                3
     Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 4 of 49 PageID #:4



These injuries include:

         (i)    lost or diminished value of Private Information;

         (ii)   out-of-pocket expenses associated with the prevention, detection, and recovery
                from identity theft, tax fraud, and/or unauthorized use of their Private Information;

         (iii) lost time and opportunity costs associated with attempting to mitigate the actual
               consequences of the Data Breach, including, but not limited to, lost time; and

         (iv) the continued and exacerbated to their Private Information which:

                a. remains unencrypted and available for unauthorized third parties to access and
                   abuse; and

                b. may remain backed up in Defendant’s possession and is subject to further
                   unauthorized disclosures so long as Defendant fails to undertake appropriate
                   and adequate measures to protect the Private Information.

       15.      Defendant disregarded the rights of Plaintiffs and Class Members by intentionally,

willfully, recklessly, and/or negligently failing to take and implement adequate and reasonable

measures to ensure that the Private Information of Plaintiffs and Class Members was safeguarded.

Defendant further disregarded their rights by failing to take available steps to prevent an

unauthorized disclosure of data, and failing to follow applicable, required, and appropriate

protocols, policies, and procedures for the encryption of data, even for internal use.

       16.      Because of the Data Breach, the Private Information of Plaintiffs and Class

Members was compromised through disclosure to an unknown and unauthorized third party.

Plaintiffs and Class Members have a continuing interest in ensuring that their information is and

remains safe, and they should be entitled to injunctive and other equitable relief.

                                             PARTIES

       17.      Plaintiff Tom Kallas is a Citizen of Milford Charter Township, Michigan and

intends to remain there throughout this litigation. He purchased vehicles from Defendant client’s

when it acquired his PII.

       18.      Plaintiff Adrian Aguilar is a Citizen of Vinita, Oklahoma and intends to remain


                                                4
       Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 5 of 49 PageID #:5



there throughout this litigation. He purchased vehicles from Defendant’s clients when it acquired

his PII.

           19.   Plaintiff Dorie Leland is a Citizen of Lawton, Oklahoma and intends to remain there

throughout this litigation. She purchased vehicles from Defendant’s clients when it acquired her

PII.

           20.   Plaintiff Bill Mussey is a Citizen of Helotes, Texas and intends to remain there

throughout this litigation. He purchased vehicles from Defendant’s clients when it acquired his

PII.

           21.   Plaintiff Marilyn Whitehead is a Citizen of Sachse, Texas and intends to remain

there throughout this litigation. She purchased vehicles from Defendant’s clients when it acquired

her PII.

           22.   Plaintiff Cassandra Gilleylen-Bowens is a Citizen of Flint, Michigan and intends to

remain there throughout this litigation. She purchased vehicles from Defendant’s clients when it

acquired her PII.

           23.   Plaintiff Megan Zumbach is a Citizen of Sylvan Lake, Michigan and intends to

remain there throughout this litigation. She purchased vehicles from Defendant’s clients when it

acquired her PII.

           24.   Plaintiff Hans Stiritz is a Citizen of Russellville, Arkansas and intends to remain

there throughout this litigation. He purchased vehicles from Defendant’s clients when it acquired

his PII.

           25.   Plaintiff William T. Stiritz is a Citizen of Beebe, Arkansas and intends to remain

there throughout this litigation. He purchased vehicles from Defendant’s clients when it acquired

his PII.

           26.   Plaintiff John G. Stiritz is a Citizen of Little Rock, Arkansas and intends to remain


                                                 5
      Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 6 of 49 PageID #:6



there throughout this litigation. He purchased vehicles from Defendant’s clients when it acquired

his PII.

           27.   Defendant CDK Global, LLC is a software company based out of Hoffman Estates,

Illinois at 1950 Hassell Road, that sells car dealerships software nationwide but incorporated in

Delaware. Its registered agent is CT Corporation System, located at 208 So Lasalle St, Suite 814,

Chicago, Il 60604-1101.

                                 JURISDICTION AND VENUE

           28.   This Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

interest and costs. On information and belief the number of class members is over 100 because the

breach affected data from 15,000 car dealerships nationwide, many of whom have different

citizenship from Defendant, including Plaintiffs. Thus, minimal diversity exists under 28 U.S.C.

§ 1332(d)(2)(A).

           29.   This Court has personal jurisdiction over Defendant because it operates and are

headquartered in this District and conduct substantial business in this District.

           30.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(l) because a

substantial part of the events giving rise to this action occurred in this District. Defendant is also

based in this District, maintains Plaintiffs’ and Class Members’ Private Information in this District,

and has caused harm to Plaintiffs and Class Members from and/or in this District.

                                   FACTUAL ALLEGATIONS

 The Data Breach

           31.   On June 19, 2024, Defendant claims that an unauthorized party accessed

Defendant’s computer network. This attack is ongoing.

           32.   Following an investigation, Defendant confirmed that an unauthorized party had


                                                6
     Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 7 of 49 PageID #:7



access to Plaintiffs’ and Class Members’ Private Information.

       33.     And the Private Information accessed and exfiltrated was likely not encrypted

because if properly encrypted, then cybercriminals would not have acquired and accessed

Plaintiffs’ and Class Members’ Private Information.

       34.     Defendant had obligations under contract, industry standards, and common law to

reasonably protect and safeguard Plaintiffs’ and Class Members’ Private Information from

unauthorized access.

       35.     Defendant agreed to and undertook legal duties to maintain the protected Private

Information entrusted to it by Plaintiffs and Class Members safely, confidentially, and in

compliance with all applicable laws.

       36.     The private information held by Defendant in computer system and network

included the Private Information of Plaintiffs and Class Members.

       37.     By obtaining, collecting, using, and profiting from Plaintiffs’ and Class Members’

Private Information, Defendant assumed legal and equitable duties and knew or should have

known that it was responsible to protect Plaintiffs’ and Class Members’ Private Information from

unauthorized disclosure.

       38.     Plaintiffs and Class Members have taken reasonable steps to maintain the

confidentiality of their Private Information.

       39.     Plaintiffs and Class Members relied on Defendant to keep their Private Information

confidential and securely maintained, to use this information for business purposes only, and to

make only authorized disclosure of this Private Information.

       40.     Plaintiffs and Class Members directly or indirectly entrusted Defendant with

sensitive and confidential information, including their Private Information, which includes Social

Security numbers, information that is static, does not change, and can be used to commit myriad


                                                7
      Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 8 of 49 PageID #:8



financial crimes.

        41.     Plaintiffs and Class Members relied on Defendant to keep their Private Information

confidential and securely maintained, to use this information for business purposes only, and to

make only authorized disclosures of this information. Plaintiffs and Class Members demand

Defendant safeguard their Private Information.

        42.     Defendant had a duty to adopt reasonable measures to protect the Private

Information of Plaintiffs and Class Members from involuntary disclosure to third parties.

        43.     On information and belief, Defendant maintained the Private Information of

Plaintiffs and Class Members, including, but not limited to, full names linked to Social Security

numbers. 1

        44.     Defendant did not use reasonable security procedures and practices appropriate to

the nature of the sensitive, unencrypted information it was maintaining for Plaintiffs and Class

Members, causing the exposure of Private Information.

        45.     Because of Defendant’s failure to use reasonable security procedures and practices

appropriate to the nature of the sensitive, unencrypted information it was maintaining for Plaintiffs

and Class Members, upon information and belief, cybercriminals infiltrated Defendant’s systems

and stole Plaintiffs’ and Class Members’ Private Information.

        46.     The unencrypted PII of Plaintiffs and Class Members will likely end up for sale on

the dark web as that is the modus operandi of hackers. In addition, unencrypted PII may fall into

the hands of companies that will use the detailed PII for targeted marketing without the approval

of Plaintiffs and Class Members. In turn, unauthorized individuals can easily access the PII of

Plaintiffs and Class Members.


1
  Notice of Defendant’s breach sent to, and posted by, the Office of the Maine attorney general, available at
https://apps.web.maine.gov/online/aeviewer/ME/40/1adfdecc-df2a-47a6-93bc-ef5a7ad1ac7a.shtml (last visited June
2, 2024).


                                                    8
     Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 9 of 49 PageID #:9



       47.       Defendant admitted that Private Information potentially impacted in the Data

Breach contained names, Social Security numbers, and clinical information.

       48.       Because Defendant failed to properly protect safeguard Plaintiffs’ and Class

Members’ Private Information, an unauthorized third party was able to access Defendant’s

network, and access Plaintiffs’ and Class Members’ Private Information stored on Defendant’s

system.

 Plaintiffs’ Experience

       49.       Plaintiffs entrusted Private Information to Defendant’s clients to purchase vehicles

from them.

       50.       Plaintiffs’ Private Information was within the possession and control of Defendant

at the time of the Data Breach.

       51.       Plaintiffs provided their Private Information to Defendant and trusted that the

information would be safeguarded according to internal policies and state and federal law.

       52.       Plaintiffs’ Private Information may have been involved in the Data Breach because

the dealerships they purchased vehicles from have been affected by the Data Breach as they are

CDK’s clients.

       53.       Plaintiffs are very careful about sharing their sensitive Private Information.

Plaintiffs have never knowingly transmitted unencrypted sensitive Private Information over the

internet or any other unsecured source.

       54.       Plaintiffs stores any documents containing their sensitive Private Information in a

safe and secure location or destroys the documents. Moreover, Plaintiffs diligently chooses unique

usernames and passwords for their various online accounts.

       55.       Because of the Data Breach, Defendant directed Plaintiffs to take certain steps to

protect their Private Information and otherwise mitigate their damages.


                                                 9
      Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 10 of 49 PageID #:10



         56.    Because of the Data Breach, Plaintiffs spent time dealing with the consequences of

the Data Breach, which includes time spent verifying the legitimacy of the Notice of Data Breach

and self-monitoring their accounts to ensure no fraudulent activity has occurred and set up a credit

alert. This time has been lost forever and cannot be recaptured. And this time was spent at

Defendant’s direction by way of the Data Breach notice where Defendant recommended that

Plaintiffs mitigate their damages by, among other things, monitoring their accounts for fraudulent

activity.

         57.    Even with the best response, the harm caused to Plaintiffs cannot be undone.

         58.    Plaintiffs suffered actual injury in the form of damages to and diminution in the

value of Plaintiffs’ Private Information-a form of intangible property that Plaintiffs entrusted to

Defendant, which was compromised in, and because of, the Data Breach. Plaintiffs suffered lost

time, annoyance, interference, and inconvenience because of the Data Breach and has anxiety and

increased concerns for the loss of their privacy.

         59.    Plaintiffs have suffered imminent and impending injury arising from the

exacerbated of fraud, identity theft, and misuse resulting from their Private Information being

placed in the hands of unauthorized third parties and possibly criminals.

         60.    Plaintiffs have a continuing interest in ensuring that Plaintiffs’ Private Information,

which, upon information and belief, remain backed up in Defendant’s possession, is protected, and

safeguarded from future breaches.

    The Data Breach was Foreseeable.

         61.    As explained by the Federal Bureau of Investigation, “[p]revention is the most

effective defense against ransomware and it is critical to take precautions for protection.” 2


2
 FBI (Federal Bureau of Investigation), How to Protect Your Networks from RANSOMWARE, at 3,
available at https://www.fbi.gov/file­repository/ransomware-prevention-and-response-for-cisos.pdf/view (last


                                                   10
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 11 of 49 PageID #:11



        62.     Defendant’s data security obligations were particularly important given the global

rise in cyberattacks and/or data breaches preceding the date of the breach. In 2023, a record 3,205

data breaches occurred in the United States, resulting in about 349,221,481 sensitive records being

exposed, a greater than 100% increase from 2019. 3

        63.     Considering recent high profile cybersecurity incidents across the country,

Defendant knew or should have known that its electronic records would be targeted by

cybercriminals.

        64.     Indeed, cyberattacks have become so notorious that the Federal Bureau of

Investigation (“FBI”) and U.S. Secret Service have issued a warning to potential targets so that

they are aware of, and prepared for, a potential attack. 4

        65.     Therefore, the increase in such attacks, and attendant risk of future attacks, was

widely known to the public and to anyone in Defendant’s industry, including Defendant.

 Value of Private Information

        66.     The Private Information of individuals remains of high value to criminals, as shown

by the prices they will pay through the dark web. Many sources cite dark web pricing for stolen

identity credentials. For example, personal information can be sold at a price ranging from $40 to

$200, and bank details have a price range of $50 to $200. 5 Experian reports that a stolen credit or

debit card number can sell for $5 to $110 on the dark web. 6 Criminals can also purchase access to


accessed Aug. 23, 2021).
3
   ICDK (Identity Theft Resource Center), 2023 Data Breach Report (January 2024), available at
https://www.idtheftcenter.org/publication/2023-data-breach-report/ (last visited May 29, 2024).
4
   FBI (Federal Bureau of Investigation), Secret Service Warn of Targeted, Law360 (Nov. 18, 2019),
https://www.law360.com/articles/1220974/fbisecret-service-wam-of-targeted-ransomware (last accessed May 30,
2024).
5
  Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends (Oct. 16, 2019),
available at https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-how-much-it-costs/
(last accessed May 30, 2024).
6
  Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian (Dec. 6, 2017),
available at      https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-information-is-
selling-for-on-the-dark-web/ (last accessed May 30, 2024).


                                                   11
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 12 of 49 PageID #:12



entire company data breaches from $900 to $4,500. 7

         67.    For these reasons, the information compromised in the Data Breach is far more

valuable than the loss of, for example, credit card information in a retailer data breach because,

there, victims can cancel or close credit and debit card accounts.

         68.    This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

personally identifiable information... [is] worth more than 10x on the black market.” 8

         69.    Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, financial services, and housing or even give false information to police.

         70.    The fraudulent activity resulting from the Data Breach may not come to light for

years.

         71.    Drug manufacturers, device manufacturers, pharmacies, hospitals, and financial

service providers often purchase PII on the black market for the purpose of target-marketing their

products and services to the physical maladies of the data breach victims themselves. Insurance

companies purchase and use wrongfully disclosed PII to adjust their insureds’ insurance premiums.

         72.    According to account monitoring company LogDog, PII sells for $50 and up on the

Dark Web. 9

         73.    Moreover, there may be a time lag between when harm occurs versus when it is

discovered, and between when PII is stolen and when it is used. According to the U.S. Government



7
  In the Dark, VPNOverview ( 2019), available at https://vpnoverview.com/privacy/anonymous-browsing/in-
the­ dark/ (last accessed Oct. 27, 2021).
8
  Time Greene, Anthem Hack: Personal Data Stolen Sells for I Ox Price of Stolen Credit Card Numbers, IT World
(Feb. 6, 2015), available at https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-
sells­for-10x-price-of-stolen-credit-card-numbers.html (last accessed Aug. 23, 2021).
9
  Lisa Vaas, Ransomware Attacks Paralyze, and Sometimes Crush, Hospitals, Naked Security (Oct. 3, 2019),
https://nakedsecurity.sophos.com/2019/10/03/ransomware-attacks-paralyze-and-sometimes-crush-
hospitals/#content (last accessed July 20, 2021).


                                                   12
     Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 13 of 49 PageID #:13



Accountability Office (“GAO”), which studied data breaches:

        [L]aw enforcement officials told us that in some cases, stolen data may be held for
        up to a year or more before being used to commit identity theft. Further, once stolen
        data have been sold or posted on the Web, fraudulent use of that information may
        continue for years. As a result, studies that attempt to measure the harm resulting
        from data breaches cannot necessarily rule out all future harm. 10

        74.     At all relevant times, Defendant knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiffs and Class Members and the foreseeable

consequences that would occur if Defendant’s data security system was breached, including,

specifically, the significant costs that would be imposed on Plaintiffs and Class Members Because

of a breach.

        75.     Plaintiffs and Class Members now face years of constant surveillance of their

financial and personal records, monitoring, and loss of rights. The Class is incurring and will

continue to incur such damages in addition to any fraudulent use of their PII.

        76.     Defendant was, or should have been, fully aware of the unique type and the

significant volume of data on Defendant’s network, amounting to potentially millions of

individuals’ detailed, personal information and thus the significant number of individuals who

would be harmed by the exposure of the unencrypted data.

        77.     The injuries to Plaintiffs and Class Members were directly and proximately caused

by Defendant’s failure to implement or maintain adequate data security measures for the PII of

Plaintiffs and class Members.

        78.     As a condition of providing staffing services, Defendant requires that its employees

entrust it with Private Information.

        79.     By obtaining, collecting, using, and profiting from Plaintiffs’ and Class Members’



10
   GAO (General Accountability Office), Report to Congressional Requesters, at 29 (June 2007), available at
https://www.gao.gov/assets/gao-07-737.pdf (last accessed Aug. 23, 2021).


                                                   13
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 14 of 49 PageID #:14



Private Information, Defendant assumed legal and equitable duties and knew or should have

known that it was responsible for protecting Plaintiffs’ and Class Members’ Private Information

from unauthorized disclosure.

       80.     Plaintiffs and the Class Members have taken reasonable steps to maintain the

confidentiality of their Private Information.

       81.     Plaintiffs and the Class Members relied on Defendant to implement and follow

adequate data security policies and protocols, to keep their Private Information confidential and

securely maintained, to use such Private Information solely for business purposes, and to prevent

the unauthorized disclosures of the Private Information.

 Defendant Acquires, Collects, and Stores the Private Information of Plaintiffs and Class
 Members

       82.     Defendant acquired, collected, and stored the Private Information of Plaintiffs and

Class Members.

       83.     By obtaining, collecting, and storing the Private Information of Plaintiffs and Class

Members, Defendant assumed legal and equitable duties and knew or should have known that it

was responsible for protecting the PII from disclosure.

       84.     Plaintiffs and Class Members have taken reasonable steps to maintain the

confidentiality of their Private Information and relied on Defendant to keep their PII confidential

and securely maintained, to use this information for business purposes only, and to make only

authorized disclosures of this information.

 Defendant Failed to Properly Protect Plaintiffs’ and Class Members’ Private Information

       85.     Defendant could have prevented this Data Breach by properly securing and

encrypting the systems containing the Private Information of Plaintiffs and Class Members.

Alternatively, Defendant could have destroyed the data, especially for individuals with whom it

had not had a relationship for some time.



                                                14
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 15 of 49 PageID #:15



       86.       Defendant’s negligence in safeguarding the PII of Plaintiffs and Class Members is

exacerbated by the repeated warnings and alerts directed to companies like Defendant to protect

and secure sensitive data they possess.

       87.       Despite the prevalence of public announcements of data breach and data security

compromises, Defendant failed to take appropriate steps to protect the PII of Plaintiffs and Class

Members from being compromised.

       88.       The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.”

The FTC describes “identifying information” as “any name or number that may be used, alone or

in conjunction with any other information, to identify a specific person,” including, among other

things, “[n]ame, Social Security number, date of birth, official State or government issued driver’s

license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.”

       89.       The ramifications of Defendant’s failure to keep secure the PII of Plaintiffs and

Class Members are long-lasting and severe. Once PII is stolen, fraudulent use of that information

and damage to victims may continue for years.

       90.       To prevent and detect unauthorized cyber-attacks, Defendant could and should

have implemented, as recommended by the United States Government, the following measures:

             •   Implement an awareness and training program. Because end users are targets,
                 employees and individuals should be aware of the threat of ransomware and how it
                 is delivered.

             •   Enable strong spam filters to prevent phishing emails from reaching the end users
                 and authenticate inbound email using technologies like Sender Policy Framework
                 (SPF), Domain Message Authentication Reporting and Conformance (DMARC),
                 and Domain Keys Identified Mail (DKIM) to prevent email spoofing.

             •   Scan all incoming and outgoing emails to detect threats and filter executable files
                 from reaching end users.



                                                15
        Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 16 of 49 PageID #:16



                   •   Configure firewalls to block access to known malicious IP addresses.

                   •   Patch operating systems, software, and firmware on devices. Consider using a
                       centralized patch management system.

                   •   Set anti-virus and anti-malware programs to conduct regular scans automatically.

                   •   Manage the use of privileged accounts based on the principle of least privilege: no
                       users should be assigned administrative access unless absolutely needed; and those
                       with a need for administrator accounts should only use them when necessary.

                   •   Configure access controls-including file, directory, and network share permissions-
                       with least privilege in mind. If a user only needs to read specific files, the user
                       should not have write access to those files, directories, or shares.

                   •   Disable macro scripts from office files transmitted via email. Consider using Office
                       Viewer software to open Microsoft Office files transmitted via email instead of full
                       office suite applications.

                   •   Implement Software Restriction Policies (SRP) or other controls to prevent
                       programs from executing from common ransomware locations, such as temporary
                       folders supporting popular Internet browsers or compression/decompression
                       programs, including the AppData/LocalAppData folder.

                   •   Consider disabling Remote Desktop protocol (RDP) if it is not being used.

                   •   Use application whitelisting, which only allows systems to execute programs
                       known and permitted by security policy.

                   •   Execute operating system environments or specific programs in a virtualized
                       environment.

                   •   Categorize data based on organizational value and implement physical and logical
                       separation of networks and data for different organizational units. 11

            91.        To prevent and detect cyber-attacks, including the cyber-attack that resulted in the

Data Breach, Defendant could and should have implemented, as recommended by the United

States Cybersecurity & Infrastructure Security Agency, the following measures:

                   •   Update and patch your computer. Ensure your applications and operating
                       systems (OSs) have been updated with the latest patches. Vulnerable applications
                       and OSs are the target of most ransomware attacks....

                   •   Use caution with links and when entering website addresses. Be careful when
                       clicking directly on links in emails, even if the sender appears to be someone you
11
     Id. at 3-4.


                                                       16
     Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 17 of 49 PageID #:17



                  know. Attempt to independently verify website addresses (e.g., contact your
                  organization’s helpdesk, search the internet for the sender organization’s website
                  or the topic mentioned in the email). Pay attention to the website addresses you
                  click on, as well as those you enter yourself. Malicious website addresses often
                  appear almost identical to legitimate sites, often using a slight variation in spelling
                  or a different domain (e.g., .com instead of .net) ....

              •   Open email attachments with caution. Be wary of opening email attachments,
                  even from senders you think you know, particularly when attachments are
                  compressed files or ZIP files.

              •   Keep your personal information safe. Check a website’s security to ensure the
                  information you submit is encrypted before you provide it....

              •   Verify email senders. If you are unsure whether or not an email is legitimate, try
                  to verify the email’s legitimacy by contacting the sender directly. Do not click on
                  any links in the email. If possible, use a previous (legitimate) email to ensure the
                  contact information you have for the sender is authentic before you contact them.

              •   Inform yourself. Keep yourself informed about recent cybersecurity threats and
                  up to date on ransomware techniques. You can find information about known
                  phishing attacks on the Anti-Phishing Working Group website. You may also want
                  to sign up for CISA product notifications, which will alert you when a new Alert,
                  Analysis Report, Bulletin, Current Activity, or Tip has been published.

              •   Use and maintain preventative software programs. Install antivirus software,
                  firewalls, and email filters-and keep them updated-to reduce malicious network
                  traffic. 12

        92.       To prevent and detect cyber-attacks, including the cyber-attack that resulted in the

Data Breach, Defendant could and should have implemented, as recommended by the Microsoft

Threat Protection Intelligence Team, the following measures:

          Secure internet-facing assets

              •   Apply latest security updates
              •   Use threat and vulnerability management
              •   Perform regular audit; remove privileged credentials;

          Thoroughly investigate and remediate alerts

              •   Prioritize and treat commodity malware infections as potential full compromise;


12
  See Security Tip (ST19-001) Protecting Against Ransomware (original release date Apr. 11, 2019), available at
https://us-cert.cisa.gov/ncas/tips/ST19-001 (last accessed Aug. 23, 2021).


                                                     17
     Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 18 of 49 PageID #:18



         Include IT Pros in security discussions

              •   Ensure collaboration among [security operations], [security admins], and
                  [information technology] admins to configure servers and other endpoints securely;

         Build credential hygiene

              •   Use [multifactor authentication] or [network level authentication] and use strong,
                  randomized, just-in-time local admin passwords;

         Apply principle of least-privilege

              •   Monitor for adversarial activities;
              •   Hunt for brute force attempts;
              •   Monitor for cleanup of Event Logs;
              •   Analyze logon events;

         Harden infrastructure

              •   Use Windows Defender Firewall;
              •   Enable tamper protection;
              •   Enable cloud-delivered protection; and
              •   Turn on attack surface reduction rules and [Antimalware Scan Interface] for Office
                  [Visual Basic for Applications]. 13

        93.       Given that Defendant was storing the PII of Plaintiffs and Class Members,

Defendant could and should have implemented all the above measures to prevent and detect

cyberattacks.

        94.       The occurrence of the Data Breach indicates that Defendant failed to adequately

implement one or more of the above measures to prevent cyberattacks, resulting in the Data Breach

and the exposure of the PII of Plaintiffs and Class Members.

        95.       As the result of computer systems needing security upgrades, inadequate

procedures for handling email phishing attacks, viruses, malignant computer code, hacking attacks,

Defendant negligently and unlawfully failed to safeguard Plaintiff’ and Class Members’ Private




13
   See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020), available at
https://www.microsoft.com/security/blog/2020/03/05/human-operated-ransomware-attacks-a-preventable-disaster/
(last accessed Aug. 23, 2021).


                                                   18
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 19 of 49 PageID #:19



Information.

       96.      Because Defendant failed to properly protect safeguard Plaintiffs’ and Class

Members’ Private Information, an unauthorized third party was able to access Defendant’s

network, and access Defendant’s database and system configuration files.

       97.      Specifically, Defendant admits that on or around June 19, 2024, an unauthorized

party accessed Defendant’s network and deleted databases and system configuration files.

       98.      Given that Defendant was storing the PII of Plaintiffs and Class Members,

Defendant could and should have implemented all the above measures to prevent and detect

cyberattacks.

       99.      The occurrence of the Data Breach indicates that Defendant failed to adequately

implement one or more of the above measures to prevent cyberattacks, resulting in the Data Breach

and the exposure of the PII of Plaintiffs and Class Members.

       100.     As the result of computer systems needing security upgrades, inadequate

procedures for handling email phishing attacks, viruses, malignant computer code, hacking attacks,

Defendant negligently and unlawfully failed to safeguard Plaintiffs’ and Class Members’ Private

Information.

 Defendant Failed to Comply with FTC Guidelines

       101.     The Federal Trade Commission (“FTC”) has promulgated Many guides for

businesses which show how important it is to implement reasonable data security practices.

According to the FTC, the need for data security should influence all business decision-making.

       102.     In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

for Business, which established cyber-security guidelines for businesses. The guidelines note that

businesses should protect the private information that they keep; properly dispose of personal

information that is no longer needed; encrypt information stored on computer networks;


                                               19
     Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 20 of 49 PageID #:20



understand their network’s vulnerabilities; and implement policies to correct any security

problems. 14

       103.    The guidelines also recommend that businesses use an intrusion detection system

to expose a breach as soon as it occurs; monitor all incoming traffic for activity suggesting

someone is attempting to hack the system; watch for large amounts of data being transmitted from

the system; and have a response plan ready in the event of a breach.

       104.    The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction; limit access to sensitive data; require complex passwords

to be used on networks; use industry-tested methods for security; monitor for suspicious activity

on the network; and verify that third-party service providers have implemented reasonable security

measures.

       105.    The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect private data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions clarify the measures businesses take to meet their

data security obligations.

       106.    Defendant failed to properly implement basic data security practices. Defendant’s

failure to employ reasonable and appropriate measures to protect against unauthorized access to

Plaintiffs’ and Class Members’ PII constitutes an unfair act or practice prohibited by Section 5 of

the FTC Act, 15 U.S.C. § 45.

       107.    Defendant was always fully aware of its obligation to protect the PII of Plaintiffs


14
   Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016), available at
https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-information.pdf.


                                                 20
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 21 of 49 PageID #:21



and Class members. Defendant was also aware of the significant repercussions that would result

from its failure to do so.

 Defendant failed to Comply with Industry Standards

        108.       As shown above, experts studying cyber security routinely identify professional

service companies as being particularly vulnerable to cyberattacks because of the value of the PII

which they collect and maintain.

        109.       Several best practices have been identified that at a minimum should be

implemented by professional service providers like Defendant, including, but not limited to,

educating all employees; strong passwords; multi-layer security, including firewalls, antivirus, and

antimalware software; encryption, making data unreadable without a key; multi-factor

authentication; backup data; and limiting which employees can access sensitive data.

        110.       Other best cybersecurity practices that are standard in the professional services

industry include installing appropriate malware detection software; monitoring and limiting the

network ports; protecting web browsers and email management systems; setting up network

systems such as firewalls, switches and routers; monitoring and protection of physical security

systems; protection against any possible communication system; and training staff regarding

critical points.

        111.       Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including, without limitation,

PR.AC-I, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-I, PR.DS-1, PR.DS-5,

PR.PT-I, PR.PT-3, DE.CM-I, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

        112.       The foregoing frameworks are existing and applicable industry standards in the




                                                 21
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 22 of 49 PageID #:22



professional services industry, and Defendant failed to comply with these accepted standards,

thereby opening the door to and causing the Data Breach.

 Defendant’s Negligent Acts and Breaches

       113.    Defendant breached its obligations to Plaintiffs and Class Members and/or were

otherwise negligent and reckless because it failed to properly maintain and safeguard its computer

systems and data. Defendant’s unlawful conduct includes, but is not limited to, the following acts

and/or omissions:

           a. Failing to maintain an adequate data security system to reduce the risk of data
              breaches;

           b. Failing to adequately protect the Personal Information of Plaintiffs and the Class;

           c. Failing to properly monitor its own data security systems for existing intrusions;

           d. Failing to train employees in the proper handling of emails containing how the
              cyberattackers were able to first access Defendant’s networks, and to and maintain
              adequate email security practices;

           e. Failing to put into place proper procedures, software settings, and data security
              software protections to adequately protect against a blunt force intrusion;

           j. Failing to comply with FTC guidelines for cybersecurity, in violation of Section 5
              of the FTC Act; and

           k. Failing to adhere to industry standards for cybersecurity.

       114.    Defendant negligently and unlawfully failed to safeguard Plaintiffs’ and Class

Members’ Personal Information by allowing/providing unsecured and unencrypted Personal

Information to Defendant which in turn allowed cyberthieves to access its IT systems. This is due

to Defendant’s outdated antivirus and malware protection software needing security updating, its

inadequate procedures for handling phishing emails or emails containing viruses or other

malignant computer code, and its other failures to maintain its networks in configuration that

would protect against cyberattacks like the one here.

       115.    Accordingly, as outlined below, Plaintiffs and Class Members now face an



                                               22
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 23 of 49 PageID #:23



increased risk of fraud and identity theft.

 Because of Defendant’s Failure to Safeguard Private Information, Plaintiffs and the Class
 Members have Experienced Substantial Harm and Will Face Significant Risk of Continued
 Identity Theft.

       116.     Plaintiffs and members of the proposed Class have suffered injury from the misuse

of their PII that can be directly traced to Defendant.

       117.     The ramifications of Defendant’s failure to keep Plaintiffs’ and the Class’s PII

secure are severe. Identity theft occurs when someone uses another’s personal information such as

that person’s name, account number, Social Security number, driver’s license number, date of

birth, and/or other information, without permission, to commit fraud or other crimes. According

to experts, one out of four data breach notification recipients become a victim of identity fraud.

         118.    Because of Defendant’s failures to prevent-and to timely detect-the Data Breach,

 Plaintiffs and the proposed Class have suffered and will continue to suffer damages, including

 monetary losses, lost time, anxiety, and emotional distress. They have suffered or are at an

 increased risk of suffering:

           a. The loss of the opportunity to control how their PII is used;

           b. The diminution in value of their PII;

           c. The compromise and continuing publication of their PII;

           d. Out-of-pocket costs associated with the prevention, detection, recovery, and
              remediation from identity theft or fraud;

           e. Lost opportunity costs and lost wages associated with the time and effort expended
              addressing and attempting to mitigate the actual and consequences of the Data
              Breach, including, but not limited to, efforts spent researching how to prevent,
              detect, contest, and recover from identity theft and fraud;

           f. Delay in receipt of tax refund monies;

           g. Unauthorized use of stolen PII; and

           h. The continued risk to their PII, which remains in the possession of Defendant and
              is subject to further breaches so long as Defendant fails to undertake the appropriate


                                                23
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 24 of 49 PageID #:24



                measures to protect the PII in its possession.

        119.    Stolen PII is one of the most valuable commodities on the criminal information

black market According to Experian, a credit-monitoring service, stolen PII can be worth up to

$1,000.00 depending on the type of information obtained.

        120.     The value of Plaintiffs’ and the proposed Class’s PII on the black market is

considerable. Stolen PII trades on the black market for years, and criminals often post stolen

private information openly and directly on various “dark web” internet websites, making the

information publicly available, for a substantial fee of course.

        121.     It can take victims years to spot identity or PII theft, giving criminals plenty of

time to milk that information for cash.

        122.     One such example of criminals using PII for profit is the development of “Fullz”

packages.

        123.    Cyber-criminals can cross-reference two sources of PII to marry unregulated data

available elsewhere to criminally stolen data with an astonishingly complete scope and degree of

accuracy to assemble complete dossiers on individuals. These dossiers are known as “Fullz”

packages.

        124.    The development of “Fullz” packages means that stolen PII from the Data Breach

can easily be used to link and identify it to Plaintiffs’ and the proposed Class’s phone numbers,

email addresses, and other unregulated sources and identifiers. In other words, even if certain

information such as emails, phone numbers, or credit card numbers may not be included in the PII

stolen by the cyber-criminals in the Data Breach, criminals can easily create a Fullz package and

sell it at a higher price to unscrupulous operators and criminals (such as illegal and scam

telemarketers) over and over. That is exactly what is happening to Plaintiffs and members of the

proposed Class, and it is reasonable for any trier of fact, including this Court or a jury, to find that




                                                 24
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 25 of 49 PageID #:25



Plaintiffs’ and other members of the proposed Class’s stolen PII is being misused, and that such

misuse is traceable to the Data Breach.

       125.    According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet Crime

Report, Internet-enabled crimes reached their highest number of complaints and dollar losses that

year, resulting in more than $3.5 billion in losses to individuals and business victims, and the

numbers are only rising.

       126.    Further, according to the same report, “rapid reporting can help law enforcement

stop fraudulent transactions before a victim loses the money for good” Defendant did not rapidly

report to Plaintiffs and the Class that their PII had been stolen.

       127.    Victims of identity theft also often suffer embarrassment, blackmail, or harassment

in person or online, and/or experience financial losses resulting from fraudulently opened accounts

or misuse of existing accounts.

       128.    In addition to out-of-pocket expenses that can exceed thousands of dollars and the

emotional toll identity theft can take, some victims must spend a considerable time repairing the

damage caused by the theft of their PII. Victims of new account identity theft will likely have to

spend time correcting fraudulent information in their credit reports and continuously monitor their

reports for future inaccuracies, close existing bank/credit accounts, open new ones, and dispute

charges with creditors.

       129.    Further complicating the issues faced by victims of identity theft, data thieves may

wait years before attempting to use the stolen PII. To protect themselves, Plaintiffs and the Class

will need to be remain vigilant against unauthorized data use for years or even decades to come.

       130.    The Federal Trade Commission (“FTC”) has also recognized that consumer data is

a new and valuable form of currency. In an FTC roundtable presentation, former Commissioner

Pamela Jones Harbour stated that “most consumers cannot begin to comprehend the types and


                                                 25
     Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 26 of 49 PageID #:26



amount of information collected by businesses, or why their information may be commercially

valuable. Data is currency.” 15

        131.     The FTC has also issued Many guidelines for businesses that highlight the

importance of reasonable data security practices. The FTC has noted the need to factor data

security into all business decision-making. According to the FTC, data security requires:

            (1) encrypting information stored on computer networks;

            (2) retaining payment card information only as long as necessary;

            (3) properly disposing of personal information that is no longer needed;

            (4) limiting administrative access to business systems;

            (5) using industry-tested and accepted methods for securing data;

            (6) monitoring activity on networks to uncover unapproved activity;

            (7) verifying that privacy and security features function properly;

            (8) testing for common vulnerabilities; and

            (9) updating and patching third-party software.

        132.     According to the FTC, unauthorized PII disclosures ravage consumers’ finances,

credit history and reputation, and can take time, money and patience to resolve the fallout. 16 The

FTC treats the failure to employ reasonable and appropriate measures to protect against

unauthorized access to confidential consumer data as an unfair act or practice prohibited by Section

5(a) of the FTC Act.

        133.     Defendant’s failure to properly notify Plaintiffs and Class Members of the Data



15
   Statement of FTC Commissioner Pamela Jones Harbour, Remarks Before FTC Exploring Privacy Roundtable
(Dec. 7, 2009), http://www.ftc.gov/speeches/harbour/091207privacyroundtable.pdf (last visited October 6,
2022).
16
    See FTC, Taking Charge, What to Do If Your Identity is Stolen, at 3 (2012), available at
https://www.ojp.gov/ncjrs/virtual­ library/abstracts/taking-charge-what-do-if-your-identity-stolen (last visited
October 10, 2022).


                                                     26
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 27 of 49 PageID #:27



Breach exacerbated Plaintiffs’ and Class Members’ injury by depriving them of the earliest ability

to take appropriate measures to protect their PII and take other necessary steps to mitigate the harm

caused by the Data Breach.

 Plaintiffs’ and Class Members’ Damages

        134.    To date, Defendant has done little to provide Plaintiffs and Class Members with

relief for the damages they have suffered because of the Data Breach, including, but not limited

to, the costs and loss of time they incurred because of the Data Breach. Defendant has only offered

12 months of inadequate identity monitoring services, despite Plaintiffs and Class Members being

at risk of identity theft and fraud for the remainder of their lifetimes.

        135.    The 12 months of credit monitoring offered to persons whose Private Information

was compromised is wholly inadequate as it fails to provide for the fact that victims of data

breaches and other unauthorized disclosures commonly face multiple years of ongoing identity

theft and financial fraud. What’s more, Defendant places the burden on Plaintiffs and Class

Members by requiring them to expend time signing up for that service rather than automatically

enrolling all victims of this Data Breach.

       136.     Plaintiffs and Class Members have been damaged by the compromise of their

Private Information in the Data Breach.

        137.    As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

Members have been placed at an imminent, immediate, and continuing increased risk of harm from

fraud and identity theft.

        138.    Plaintiffs and Class Members face substantial risk of out-of-pocket fraud losses

such as loans opened in their names, financial or medical services billed in their names, tax return

fraud, utility bills opened in their names, credit card fraud, and similar identity theft.

        139.    Plaintiffs and Class Members face substantial risk of being targeted for future




                                                 27
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 28 of 49 PageID #:28



phishing, data intrusion, and other illegal schemes based on their Private Information as potential

fraudsters could use that information to more effectively target such schemes to Plaintiffs and

Class Members.

       140.    Plaintiffs and Class Members may also incur out-of-pocket costs for protective

measures such as credit monitoring fees, credit report fees, credit freeze fees, and similar costs

directly or indirectly related to the Data Breach.

       141.    Plaintiffs and Class Members may also incur out-of-pocket costs for protective

measures such as credit monitoring fees, credit report fees, credit freeze fees, and similar costs

directly or indirectly related to the Data Breach.

       142.    Defendant provided no compensation for the unauthorized release and disclosure

of Plaintiffs’ and Class Members’ Private Information.

       143.    Plaintiffs and Class Members have been damaged by the compromise of their

Personal Information in the cyber-attack. Moreover, Defendant’s delay in noticing affected

persons of the theft of their Private Information prevented early mitigation efforts and compounded

the harm.

       144.    Plaintiffs and Class Members have suffered or will suffer actual injury as a direct

result of the Data Breach. Many victims suffered ascertainable losses in the form of out- of-pocket

expenses and the value of their time reasonably incurred to remedy or mitigate the effects of the

Data Breach relating to:

            a. Reviewing and monitoring financial and other sensitive accounts and finding
               fraudulent insurance claims, loans, and/or government benefits claims;

            b. Purchasing credit monitoring and identity theft prevention;

            c. Placing “freezes” and “alerts” with reporting agencies;

            d. Spending time on the phone with or at financial institutions, healthcare providers,
               and/or government agencies to dispute unauthorized and fraudulent activity in their
               name;



                                                28
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 29 of 49 PageID #:29



           e. Contacting financial institutions and closing or modifying financial accounts; and

           f. Closely reviewing and monitoring Social Security number; financial, medical, and
              bank accounts; and credit reports for unauthorized activity for years to come.

       145.    Moreover, Plaintiffs and Class Members have an interest in ensuring that their

Personal Information, which is believed to remain in the possession of Defendant, is protected

from further breaches by implementing security measures and safeguards, including, but not

limited to, making sure that the storage of data or documents containing Personal Information is

inaccessible online and that access to such data is password protected.

                              CLASS ACTION ALLEGATIONS

       146.    Plaintiffs bring this nationwide class action on behalf of themselves and on behalf

of others similarly situated under Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of

Civil Procedure.

       147.    The Nationwide Class that Plaintiffs seek to represent is defined as follows:

               All persons whose Private Information was actually or potentially
               accessed or acquired during the Data Breach (the “Class”).

       148.    Excluded from the Classes are the following individuals and/or entities: Defendant

and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendant has a controlling interest; all individuals who make a timely election to be excluded

from this proceeding using the correct protocol for opting out; all federal, state, or local

governments, including, but not limited to, their departments, agencies, divisions, bureaus, boards,

sections, groups, counsels, and/or subdivisions; and all judges assigned to hear any aspect of this

litigation, as well as their immediate family members.

       149.    Plaintiffs reserve the right to modify or amend the definition of the proposed classes

before the Court determines whether certification is appropriate.

       150.    Numerosity, Fed R. Civ. P. 23(a)(l): Class Members are so Many that joinder of all



                                               29
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 30 of 49 PageID #:30



members is impracticable. Upon information and belief, there exceed 10,000 individuals whose

Private Information may have been improperly accessed in the Data Breach, and each Class is

apparently identifiable within Defendant’s records.

       151.   Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3): Questions of law and fact

common to the Classes exist and predominate over any questions affecting only individual Class

Members. These include:

           a. Whether and to what extent Defendant had a duty to protect the Private Information
              of Plaintiffs and Class Members;

           b. Whether Defendant had duties not to disclose the Private Information of Plaintiffs
              and Class Members to unauthorized third parties;

           c. Whether Defendant had duties not to use the Private Information of Plaintiffs and
              Class Members for non-business purposes;

           d. Whether Defendant failed to adequately safeguard the Private Information of
              Plaintiffs and Class Members;

           e. When Defendant learned of the Data Breach;

           f. Whether Defendant adequately, promptly, and accurately informed Plaintiffs and
              Class Members that their PII had been compromised;

           g. Whether Defendant violated the law by failing to promptly notify Plaintiffs and
              Class Members that their PII had been compromised;

           h. Whether Defendant failed to implement and maintain reasonable security
              procedures and practices appropriate to the nature and scope of the information
              compromised in the Data Breach;

           i. Whether Defendant adequately addressed and fixed the vulnerabilities which
              permitted the Data Breach to occur;

           j. Whether Defendant engaged in unfair, unlawful, or deceptive practices by failing
              to safeguard the Private Information of Plaintiffs and Class Members;

           k. Whether Defendant violated the consumer protection statutes invoked herein;

           l. Whether Plaintiffs and Class Members are entitled to actual, consequential, and/or
              nominal damages because of Defendant’s wrongful conduct;

           m. Whether Plaintiffs and Class Members are entitled to restitution because of


                                              30
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 31 of 49 PageID #:31



               Defendant’s wrongful conduct; and

           n. Whether Plaintiffs and Class Members are entitled to injunctive relief to redress the
              imminent and currently ongoing harm faced because of the Data Breach.


       152.    Typicality, Fed. R. Civ. P. 23(a)(3): Plaintiffs’ claims are typical of those of other

Class Members because all had their PII compromised because of the Data Breach, because of

Defendant’s misfeasance.

       153.    Policies Generally Applicable to the Class: This class action is also appropriate for

certification because Defendant has acted or refused to act on grounds generally applicable to the

Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the Class Members and making final injunctive relief appropriate with respect

to the Class as a whole. Defendant’s policies challenged here apply to and affect Class Members

uniformly and Plaintiffs’ challenge of these policies hinges on Defendant’s conduct toward the

Class as a whole, not on facts or law applicable only to Plaintiffs.

       154.    Adequacy, Fed. R. Civ. P. 23(a)(4): Plaintiffs will fairly and adequately represent

and protect the interests of the Class Members in that Plaintiffs have no disabling conflicts of

interest that would be antagonistic to those of the other Members of the Class. Plaintiffs seek no

relief that is antagonistic or adverse to the Members of the Class and the infringement of the rights

and the damages Plaintiffs have suffered are typical of other Class Members. Plaintiffs have also

retained counsel experienced in complex class action litigation, and Plaintiffs intend to prosecute

this action vigorously.

       155.    Superiority and Manageability, Fed. R. Civ. P. 23(b)(3): Class litigation is an

appropriate method for fair and efficient adjudication of the claims involved. Class action

treatment is superior to all other available methods for the fair and efficient adjudication of the

controversy alleged here; it will permit many Class Members to prosecute their common claims in


                                                31
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 32 of 49 PageID #:32



a single forum simultaneously, efficiently, and without the unnecessary duplication of evidence,

effort, and expense that hundreds of individual actions would require. Class action treatment will

permit the adjudication of modest claims by certain Class Members, who could not individually

afford to litigate a complex claim against large corporations, like Defendant. Further, even for

those Class Members who could afford to litigate such a claim, it would still be economically

impractical and impose a burden on the courts.

       156.    The nature of this action and the nature of laws available to Plaintiffs and Class

Members make the use of the class action device a particularly efficient and appropriate procedure

to afford relief to Plaintiffs and Class Members for the wrongs alleged because Defendant would

necessarily gain an unconscionable advantage since it would be able to exploit and overwhelm the

limited resources of each individual Class Member with superior financial and legal resources; the

costs of individual suits could unreasonably consume the amounts that would be recovered; proof

of a common course of conduct to which Plaintiffs were exposed is representative of that

experienced by the Class and will establish the right of each Class Member to recover on the cause

of action alleged; and individual actions would create a risk of inconsistent results and would be

unnecessary and duplicative of this litigation.

       157.    The litigation of the claims brought herein is manageable. Defendant’s uniform

conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class

Members demonstrates that there would be no significant manageability problems with

prosecuting this lawsuit as a class action.

       158.    Adequate notice can be given to Class Members directly using information

maintained in Defendant’s records.

       159.    Unless a Class-wide injunction is issued, Defendant may continue in its failure to

properly secure the Private Information of Class Members, Defendant may continue to refuse to




                                                  32
      Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 33 of 49 PageID #:33



provide proper notification to Class Members regarding the Data Breach, and Defendant may

continue to act unlawfully as set forth in this Complaint.

        160.   And Defendant has acted or refused to act on grounds generally applicable to the

Classes and thus final injunctive or corresponding declaratory relief for the Class Members is

appropriate under Rule 23(b)(2) of the Federal Rules of Civil Procedure.

        161.   Likewise, issues under Rule 23(c)(4) are appropriate for certification because such

claims present only particular, common issues, the resolution of which would advance the

disposition of this matter and the parties’ interests therein. Such issues include, but are not limited

to:

           a. Whether Defendant owed a legal duty to Plaintiffs and Class Members to exercise
              due care in collecting, storing, using, and safeguarding their Private Information;

           b. Whether Defendant breached a legal duty to Plaintiffs and Class Members to
              exercise due care in collecting, storing, using, and safeguarding their Private
              Information;

           c. Whether Defendant failed to comply with its own policies and applicable laws,
              regulations, and industry standards relating to data security;

           d. Whether an implied contract existed between Defendant on the one hand, and
              Plaintiffs and Class Members on the other, and the terms of that implied contract;

           e. Whether Defendant breached the implied contract;

           f. Whether Defendant adequately and accurately informed Plaintiffs and Class
              Members that their Private Information had been compromised;

           g. Whether Defendant failed to implement and maintain reasonable security
              procedures and practices appropriate to the nature and scope of the information
              compromised in the Data Breach;

           h. Whether Defendant engaged in unfair, unlawful, or deceptive practices by failing
              to safeguard the Private Information of Plaintiffs and Class Members; and

           i. Whether Class Members are entitled to actual, consequential, and/or nominal
              damages, and/or injunctive relief Because of Defendant’s wrongful conduct.




                                                 33
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 34 of 49 PageID #:34



                                       CAUSES OF ACTION

                                             COUNT I
                                          NEGLIGENCE
                      (On Behalf of Plaintiffs and the Putative Rule 23 Class)

           162.   Plaintiffs and the Class repeat and re-allege every allegation as if fully set forth

herein.

           163.   Plaintiffs and the Class entrusted Defendant with their Private Information.

           164.   Plaintiffs and the Class entrusted their Private Information to Defendant on the

premise and with the understanding that Defendant would safeguard their information, use their

PII for business purposes only, and/or not disclose their Private Information to unauthorized third

parties.

           165.   Defendant knows about the sensitivity of the Private Information and the types of

harm that Plaintiffs and the Class could and would suffer if the Private Information were

wrongfully disclosed.

           166.   Defendant knew or reasonably should have known that the failure to exercise due

care in the collecting, storing, and using of the Private Information of Plaintiffs and the Class

involved an unreasonable risk of harm to Plaintiffs and the Class, even if the harm occurred

through the criminal acts of a third party.

           167.   Defendant had a duty to exercise reasonable care in safeguarding, securing, and

protecting such information from being compromised, lost, stolen, misused, and/or disclosed to

unauthorized parties. This duty includes, among other things, designing, maintaining, and testing

Defendant’s security protocols to ensure that the Private Information of Plaintiffs and the Class

Members in Defendant’s possession was adequately secured and protected.

           168.   Defendant also had a duty to exercise appropriate clearinghouse practices to remove

Private Information it was no longer required to retain under regulations.


                                                  34
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 35 of 49 PageID #:35



       169.    Defendant also had a duty to have procedures in place to detect and prevent the

improper access and misuse of the Private Information of Plaintiffs and the Class.

       170.    Defendant’s duty to use reasonable security measures arose Because of the special

relationship that existed between Defendant and Plaintiffs and the Class. That special relationship

arose because Plaintiffs and the Class entrusted Defendant with their confidential Private

Information, a necessary part of obtaining services from Defendant.

       171.    Defendant was subject to an “independent duty,” untethered to any contract

between Defendant and Plaintiffs or the Class.

       172.    A breach of security, unauthorized access, and resulting injury to Plaintiffs and the

Class was reasonably foreseeable, particularly given Defendant’s inadequate security practices.

       173.    Plaintiffs and the Class were the foreseeable and probable victims of any inadequate

security practices and procedures. Defendant knew or should have known of the inherent risks in

collecting and storing the Private Information of Plaintiffs and the Class, the importance of

providing adequate security of that Private Information, and the necessity for encrypting Private

Information stored on Defendant’s systems.

       174.    Defendant’s own conduct created a foreseeable risk of harm. to Plaintiffs and the

Class. Defendant’s misconduct included, but was not limited to, its failure to take the steps and

opportunities to prevent the Data Breach asset forth herein. Defendant’s misconduct also included

its decisions not to comply with industry standards for the safekeeping of the Private Information

of Plaintiffs and the Class, including basic encryption techniques freely available to Defendant.

       175.    Plaintiffs and the Class had no ability to protect their Private Information that was

in, and possibly remains in, Defendant’s possession.

       176.    Defendant was able to protect against the harm suffered by Plaintiffs and the Class

because of the Data Breach.


                                                 35
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 36 of 49 PageID #:36



        177.     Defendant had and continue to have a duty to adequately disclose that the Private

Information of Plaintiffs and the Class within Defendant’s possession might have been

compromised, how it was compromised, and precisely the types of data that were compromised

and when. Such notice was necessary to allow Plaintiffs and the Class to take steps to prevent,

mitigate, and repair any identity theft and the fraudulent use of their Private Info by third parties.

        178.     Defendant had a duty to employ proper procedures to prevent the unauthorized

dissemination of the Private Information of Plaintiffs and the Class.

        179.     Defendant has admitted that the Private Information of Plaintiffs and the Class was

wrongfully lost and disclosed to unauthorized third persons because of the Data Breach.

        180.     Defendant, through its actions and/or omissions, unlawfully breached its duties to

Plaintiffs and the Class by failing to implement industry protocols and exercise reasonable care in

protecting and safeguarding the Private Information of Plaintiffs and the Class during the time the

Private Information was within Defendant’s possession or control.

        181.     Defendant improperly and inadequately safeguarded the Private Information of

Plaintiffs and the Class in deviation of standard industry rules, regulations, and practices at the

time of the Data Breach.

        182.     Defendant failed to heed industry warnings and alerts to provide adequate

safeguards to protect the Private Information of Plaintiffs and the Class in the face of increased

risk of theft.

        183.     Defendant, through its actions and/or omissions, unlawfully breached its duty to

Plaintiffs and the Class by failing to have appropriate procedures in place to detect and prevent

dissemination of Private Information.

        184.     Defendant breached its duty to exercise appropriate clearinghouse practices by

failing to remove Private Information it was no longer required to retain under regulations.


                                                 36
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 37 of 49 PageID #:37



        185.      Defendant, through its actions and/or omissions, unlawfully breached its duty to

adequately and timely disclose to Plaintiffs and the Class the existence and scope of the Data

Breach.

        186.      But for Defendant’s wrongful and negligent breach of duties owed to Plaintiffs and

the Nationwide Class, the Private Information of Plaintiffs and the Class would not have been

compromised.

        187.      There is a close causal connection between Defendant’s failure to implement

security measures to protect the Private Information of Plaintiffs and the Class and the harm, or

risk of imminent harm, suffered by Plaintiffs and the Nationwide Class. The Private Information

of Plaintiffs and Class Members was lost and accessed as the proximate result of Defendant’s

failure to exercise reasonable care in safeguarding such Private Information by adopting,

implementing, and maintaining appropriate security measures.

        188.      Additionally, Section 5 of the FTC Act prohibits “unfair ... practices in or affecting

commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice by

businesses, such as Defendant, of failing to use reasonable measures to protect Private Information.

The FTC publications and orders described above also form part of the basis of Defendant’s duty

in this regard.

        189.      Defendant violated Section 5 of the FTC Act by failing to use reasonable measures

to protect Private Information and not complying with applicable industry standards, as detailed

herein. Defendant’s conduct was particularly unreasonable given the nature and amount of PII it

obtained and stored and the foreseeable consequences of the immense damages that would result

to Plaintiffs and the Class.

        190.      Defendant’s violation of Section 5 of the FTC Act constitutes negligence per se.

        191.      Plaintiffs and the Class are within the class of persons that the FTC Act was


                                                  37
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 38 of 49 PageID #:38



intended to protect.

        192.    The harm attributable to the Data Breach is the type of harm the FTC Act was

intended to guard against. The FTC has pursued enforcement actions against businesses, which,

Because of its failure to employ reasonable data security measures and avoid unfair and deceptive

practices, caused the same harm as that suffered by Plaintiffs and the Class.

        193.    As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiffs and the Class have suffered and will suffer injury, including but not limited to: (i) actual

identity theft; (ii) the loss of the opportunity of how their Private Information is used; (iii) the

compromise, publication, and/or theft of their Private Information; (iv) out-of-pocket expenses

associated with the prevention, detection, and recovery from identity theft, tax fraud, and/or

unauthorized use of their Private Information; (v) lost opportunity costs associated with effort

expended and the loss of productivity addressing and attempting to mitigate the present and

continuing consequences of the Data Breach, including, but not limited to, efforts spent

researching how to prevent, detect, contest, and recover from tax fraud and identity theft; (vi) costs

associated with placing freezes on credit reports; (vii) the continued risk to their Private

Information, which remain in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the Private Information of Plaintiffs and the Class; and (viii) present and continuing costs in terms

of time, effort, and money that has been and will be expended to prevent, detect, contest, and repair

the effect of the Private Information compromised because of the Data Breach for the rest of the

lives of Plaintiffs and the Class.

        194.    As a direct and proximate result of Defendant’ negligence and negligence per se,

Plaintiffs and the Class have suffered and will continue to suffer other forms of injury and/or harm,

including, but not limited to, anxiety, emotional distress, loss of privacy, and other economic and


                                                 38
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 39 of 49 PageID #:39



non-economic losses.

          195.   Additionally, as a direct and proximate result of Defendant’s negligence and

negligence per se, Plaintiffs and the Class have suffered and will suffer the continued risks of

exposure of their Private Information, which remain in Defendant’s possession and is subject to

further unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the Private Information in its continued possession.

          196.   As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiffs and the Class have a right to recover actual, consequential, and nominal damages.

                                             COUNT II
                             BREACH OF IMPLIED CONTRACT
                      (On behalf of Plaintiffs and the Putative Rule 23 Class)

          197.   Plaintiffs and the Class repeat and re-allege every allegation as if fully set forth

herein.

          198.   Plaintiffs and the Class entrusted their Private Information to Defendant. In so

doing, Plaintiffs and the Class entered implied contracts with Defendant by which Defendant

agreed to safeguard and protect such information, to keep such information secure and

confidential, and to timely and accurately notify Plaintiffs and the Class if its data had been

breached and compromised or stolen.

          199.   In its Privacy Policy, Defendant represented that it would not disclose Plaintiffs and

Class Members’ Private Information to unauthorized third parties.

          20S. Plaintiffs and the Class fully performed their obligations under the implied contracts

with Defendant.

          206.   Defendant breached the implied contracts it made with Plaintiffs and the Class by

failing to safeguard and protect their personal information, by failing to delete the information of

Plaintiffs and the Class once the relationship ended, and by failing to provide timely and accurate


                                                 39
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 40 of 49 PageID #:40



notice to them that their personal information was compromised because of the Data Breach.

          207.   As a direct and proximate result of Defendant’s above-described breach of implied

contract, Plaintiffs and the Class have suffered (and will continue to suffer) ongoing, imminent,

and impending threat of identity theft crimes, fraud, and abuse, resulting in monetary loss and

economic harm; actual identity theft crimes, fraud, and abuse, resulting in monetary loss and

economic harm; loss of the confidentiality of the stolen confidential data; the illegal sale of the

compromised data on the dark web; expenses and/or time spent on credit monitoring and identity

theft insurance; time spent scrutinizing bank statements, credit card statements, and credit reports;

expenses and/or time spent initiating fraud alerts, decreased credit scores and ratings; lost work

time; and other economic and non-economic harm.

          208.   As a direct and proximate result of Defendant’s above-described breach of implied

contract, Plaintiffs and the Class have a right to recover actual, consequential, and nominal

damages.

                                           COUNT III
                                    NEGLIGENCE PER SE
                     (On behalf of Plaintiffs and the Putative Rule 23 Class)

          209.   Plaintiffs and the Class repeat and re-allege every allegation as if fully set forth

herein.

          210.   Pursuant to Federal Trade Commission, 15 U.S.C. § 45, Defendant had a duty to

provide fair and adequate computer systems and data security practices to safeguard Plaintiffs’ and

Class Members’ Private Information.

          211.   Defendant breached its duties to Plaintiffs and Class Members under the Federal

Trade Commission Act by failing to provide fair, reasonable, or adequate computer systems and

data security practices to safeguard Plaintiffs’ and Class Members’ Private Information.

          212.   Defendant’s failure to comply with applicable laws and regulations constitutes


                                                 40
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 41 of 49 PageID #:41



negligence per se.

          213.   But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiffs

and Class Members, Plaintiffs and Class Members would not have been injured.

          214.   The injury and harm suffered by Plaintiffs and Class Members was the reasonably

foreseeable result of Defendant’s breach of its duties. Defendant knew or should have known that

it was failing to meet its duties, and that Defendant’s breach would cause Plaintiffs and Class

Members to experience the foreseeable harms associated with the exposure of their Private

Information.

          215.   As a direct and proximate result of Defendant’s negligent conduct, Plaintiffs and

Class Members have suffered an injury and are entitled to compensatory, consequential, and

punitive damages in an amount to be proven at trial.

                                           COUNT IV
                               BREACH OF FIDUCIARY DUY
                     (On behalf of Plaintiffs and the Putative Rule 23 Class)

          216.   Plaintiffs and the Class repeat and re-allege every allegation as if fully set forth

herein.

          217.   In light of the special relationship between Defendant and Plaintiffs and Class

Members, by which Defendant became guardian of Plaintiffs and Class Members’ Private

Information, Defendant became a fiduciary by its undertaking and guardianship of the Private

Information, to act primarily for Plaintiffs and Class Members, (1) for the safeguarding of

Plaintiffs and Class Members’ Private Information; (2) to timely notify Plaintiffs and Class

Members of a Data Breach and disclosure; and (3) to maintain complete and accurate records of

what information (and where) Defendant did and does store.

          218.   Defendant has a fiduciary duty to act for the benefit of Plaintiffs and Class Members

upon matters within the scope of Defendant’s relationship with its employees, in particular, to keep


                                                 41
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 42 of 49 PageID #:42



secure their Private Information.

       219.    Defendant breached its fiduciary duties to Plaintiffs and Class Members by failing

to diligently discovery, investigate, and give notice of the Data Breach in a reasonable and

practicable period.

       220.    Defendant breached its fiduciary duties to Plaintiffs and Class Members by failing

to encrypt or otherwise protect the integrity of the systems containing Plaintiffs and Class

Members’ Private Information.

       221.    Defendant breached its fiduciary duties owed to Plaintiffs and Class Members by

failing to timely notify and/or warn Plaintiffs and Class Members of the Data Breach.

       222.    Defendant breached its fiduciary duties to Plaintiffs and Class Members by

otherwise failing to safeguard Plaintiffs’ and Class Members’ Private Information.

       223.    As a direct and proximate result of Defendant’s breaches of its fiduciary duties,

Plaintiffs and Class Members have suffered and will suffer injury, including but not limited to:

(i) actual identity theft; (ii) the compromise, publication, and/or theft of their Private Information;

(iii) out-of-pocket expenses associated with the prevention, detection, and recovery from identity

theft and/or unauthorized use of their Private Information; (iv) lost opportunity costs associated

with effort expended and the loss of productivity addressing and attempting to mitigate the actual

and consequences of the Data Breach, including, but not limited to, efforts spent researching how

to prevent, detect, contest, and recover from identity theft; (v) the continued risk to their Private

Information, which remains in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the Private Information in its continued possession; (vi) future costs in terms of time, effort, and

money that will be expended as result of the Data Breach for the rest of the lives of Plaintiffs and

Class Members; and (vii) the diminished value of Defendant’s services they received.

       224.    As a direct and proximate result of Defendant’s breach of its fiduciary duties,


                                                 42
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 43 of 49 PageID #:43



Plaintiffs and Class Members have suffered and will continue to suffer other forms of injury and/or

harm, and other economic and non-economic losses.

                                            COUNT V
                                   UNJUST ENRICHMENT
                     (On behalf of Plaintiffs and the Putative Rule 23 Class)

          225.   Plaintiffs and the Class repeat and re-allege every allegation as if fully set forth

herein.

          226.   Plaintiffs and Class Members conferred a monetary benefit on Defendant, by

providing Defendant with their valuable Private Information.

          227.   Defendant enriched itself by saving the costs it reasonably should have expended

on data security measures to secure Plaintiffs’ and Class Members’ Private Information.

          228.   Rather than provide a reasonable level of security that would have prevented the

Data Breach, Defendant instead calculated to avoid its data security obligations at the expense of

Plaintiffs and Class Members by using cheaper, ineffective security measures. Plaintiffs and Class

Members, on the other hand, suffered as a direct and proximate result of Defendant’s failure to

provide the requisite security.

          229.   Under the principles of equity and good conscience, Defendant should not be

permitted to retain the monetary value of the benefit belonging to Plaintiffs and Class Members,

because Defendant failed to implement appropriate data management and security measures that

are mandated by industry standards.

          230.   Defendant acquired the monetary benefit and PII through inequitable means in that

it failed to disclose the inadequate security practices previously alleged.

          231.   If Plaintiffs and Class Members knew that Defendant had not secured their PII, they

would not have agreed to provide their PII to Defendant.

          232.   Plaintiffs and Class Members have no adequate remedy at law.


                                                 43
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 44 of 49 PageID #:44



          233.   As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

Members have suffered and will suffer injury, including but not limited to: (i) actual identity theft;

(ii) the loss of the opportunity how their Private Information is used; (iii) the compromise,

publication, and/or theft of their PII; (iv) out-of-pocket expenses associated with the prevention,

detection, and recovery from identity theft, and/or unauthorized use of their Private Information;

(v) lost opportunity costs associated with effort expended and the loss of productivity addressing

and attempting to mitigate the actual and consequences of the Data Breach, including, but not

limited to, efforts spent researching how to prevent, detect, contest, and recover from identity theft;

(vi) the continued risk to their Private Information, which remain in Defendant’s possession and

is subject to further unauthorized disclosures so long as Defendant fails to undertake appropriate

and adequate measures to protect Private Information in its continued possession and (vii) future

costs in terms of time, effort, and money to be expended to prevent, detect, contest, and repair the

effect of the Private Information compromised because of the Data Breach for the rest of the lives

of Plaintiffs and Class Members.

          234.   As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.

          235.   Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiffs and Class Members, proceeds that it unjustly received from them.

                                           COUNT VI
                        DECLARATORY AND INJUNCTIVE RELIEF
                       (On behalf of Plaintiffs and the Putative Rule 23 Class)

          236.   Plaintiffs and the Class repeat and re-allege every allegation as if fully set forth

herein.

          237.   Plaintiffs pursue this claim under the Federal Declaratory Judgment Act, 28 U.S.C.

§ 2201.


                                                 44
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 45 of 49 PageID #:45



       238.     Defendant owes a duty of care to Plaintiffs and Class Members that require it to

adequately secure Plaintiffs’ and Class members’ Private Information.

       239.     Defendant failed to fulfill its duty of care to safeguard Plaintiffs’ and Class

Members’ Private Information.

       240.     As described above, actual harm has arisen in the wake of the Data Breach

regarding Defendant’s contractual obligations and duties of care to provide security measures to

Plaintiffs and Class Members. Further, Plaintiffs and Class members are at risk of additional or

further harm. due to the exposure of their Private Information and Defendant’s failure to address

the security failings that led to such exposure.

       241.     There is no reason to believe that Defendant’s employee training and security

measures are any more adequate now than they were before the breach to meet Defendant’s

contractual obligations and legal duties.

       242.     Plaintiffs, therefore, seek a declaration (1) that Defendant’s existing data security

measures do not comply with its contractual obligations and duties of care to provide adequate

data security, and (2) that to comply with its contractual obligations and duties of care, Defendant

must implement and maintain reasonable security measures, including, but not limited to, the

following:

             a. Ordering that Defendant engage internal security personnel to conduct testing,
                including audits on Defendant’s systems, periodically, and ordering Defendant to
                promptly correct any problems or issues detected by such third-party security
                auditors;

             b. Ordering that Defendant engage third-party security auditors and internal personnel
                to run automated security monitoring;

             c. Ordering that Defendant audit, test, and train its security personnel and employees
                regarding any new or modified data security policies and procedures;

             d. Ordering that Defendant purge, delete, and destroy, in a reasonably secure manner,
                any Private Information unnecessary for its provision of services;


                                                   45
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 46 of 49 PageID #:46



           e. Ordering that Defendant conduct regular database scanning and security checks;
              and

           f. Ordering that Defendant routinely and continually conduct internal training and
              education to inform internal security personnel and employees how to safely share
              and maintain highly sensitive personal information, including, but not limited to,
              personally identifiable information.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and Class Members, requests

judgment against Defendant and that the Court grant the following:

           a. For an Order certifying the Class, and appointing Plaintiffs and their Counsel to
              represent the Class;

           b. For equitable relief enjoining Defendant from engaging in the wrongful conduct
              complained of herein relating to the misuse and/or disclosure of the PII of Plaintiffs
              and Class Members, and from refusing to issue prompt, complete, any accurate
              disclosures to Plaintiffs and Class Members;

           c. For injunctive relief requested by Plaintiffs, including, but not limited to, injunctive
              and other equitable relief as is necessary to protect the interests of Plaintiffs and
              Class Members, including, but not limited to, an order:

              i.     prohibiting Defendant from engaging in the wrongful and unlawful acts
                     described herein;

              ii.    requiring Defendant to protect, including through encryption, all data
                     collected through the course of its business in accordance with all applicable
                     regulations, industry standards, and federal, state, or local laws;

              iii.   requiring Defendant to delete, destroy, and purge the personal identifying
                     information of Plaintiffs and Class Members unless Defendant can provide to
                     the Court reasonable justification for the retention and use of such information
                     when weighed against the privacy interests of Plaintiffs and Class Members;

              iv.    requiring Defendant to implement and maintain a comprehensive Information
                     Security Program designed to protect the confidentiality and integrity of the
                     PII of Plaintiffs and Class Members;

              v.     prohibiting Defendant from maintaining the PII of Plaintiffs and Class
                     Members on a cloud-based database;

              vi.    requiring Defendant to engage independent third-party security
                     auditors/penetration testers as well as internal security personnel to conduct
                     testing, including simulated attacks, penetration tests, and audits on


                                                46
Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 47 of 49 PageID #:47



               Defendant’s systems on a periodic basis, and ordering Defendant to promptly
               correct any problems or issues detected by such third-party security auditors;

         vii. requiring Defendant to engage independent third-party security auditors and
              internal personnel to run automated security monitoring;

         viii. requiring Defendant to audit, test, and train its security personnel regarding
               any new or modified procedures;

         ix.   requiring Defendant to segment data by, among other things, creating
               firewalls and access controls so that if one area of Defendant’s network is
               compromised, hackers cannot gain access to other portions of Defendant’s
               systems;

         x.    requiring Defendant to conduct regular database scanning and securing
               checks;

         xi.   requiring Defendant to establish an information security training program that
               includes at least annual information security training for all employees, with
               additional training to be provided as appropriate based upon the employees’
               respective responsibilities with handling personal identifying information, as
               well as protecting the personal identifying information of Plaintiffs and Class
               Members;

         xii. requiring Defendant to routinely and continually conduct internal training and
              education, and on an annual basis to inform internal security personnel how
              to identify and contain a breach when it occurs and what to do in response to
              a breach;

         xiii. requiring Defendant to implement a system of tests to assess its respective
               employees’ knowledge of the education programs discussed in the preceding
               subparagraphs, as well as randomly and periodically testing employee’s
               compliance with Defendant’s policies, programs, and systems for protecting
               personal identifying information;

         xiv. requiring Defendant to implement, maintain, regularly review, and revise as
              necessary a threat management program designed to appropriately monitor
              Defendant’s information networks for threats, both internal and external, and
              assess whether monitoring tools are appropriately configured, tested, and
              updated;

         xv. requiring Defendant to meaningfully educate all Class Members about the
             threats that they face Because of the loss of their confidential personal
             identifying information to third parties, as well as the steps affected
             individuals must take to protect themselves;

         xvi. requiring Defendant to implement logging and monitoring programs
              sufficient to track traffic to and from Defendant’s servers; and for a period of


                                         47
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 48 of 49 PageID #:48



                      10 years, appointing a qualified and independent third party assessor to
                      conduct a SOC 2 Type 2 attestation on an annual basis to evaluate
                      Defendant’s compliance with the terms of the Court’s final judgment, to
                      provide such report to the Court and to counsel for the class, and to report any
                      deficiencies with compliance of the Court’s final judgment;

          d. For an award of damages, including, but not limited to, actual, consequential, and
             nominal damages, as allowed by law in an amount to be determined;

          e. For an award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

          f. For prejudgment interest on all amounts awarded; and

          g. Any other relief that this Court may deem just and proper.

                                  DEMAND FOR JURY TRIAL

       Plaintiffs demand that this matter be tried before a jury.


Date: June 27, 2024                                    Respectfully submitted,

                                                       /s/ James B. Zouras

                                                       James B. Zouras
                                                       STEPHAN ZOURAS ATTORNEYS AT LAW
                                                       222 West Adams St., Suite 2020
                                                       Chicago, IL 60606
                                                       P 312-233-1550
                                                       F 312-233-1560

                                                       ELLZEY & ASSOCIATES, PLLC
                                                       Jarrett L. Ellzey*
                                                       Texas Bar No. 24040864
                                                       jarrett@ellzeylaw.com
                                                       Leigh S. Montgomery*
                                                       Texas Bar No. 24052214
                                                       leigh@ellzeylaw.com
                                                       Alexander G. Kykta*
                                                       Texas Bar No. 24107841
                                                       alex@ellzeylaw.com
                                                       1105 Milford Street
                                                       Houston, Texas 77006
                                                       Phone: (888) 350-3931
                                                       Fax: (888) 276-3455

                                                       ATTORNEYS FOR PLAINTIFFS
                                                       (* denotes pro hac vice forthcoming)


                                                48
    Case: 1:24-cv-05384 Document #: 1 Filed: 06/27/24 Page 49 of 49 PageID #:49



                                 CERTIFICATE OF SERVICE

        I, the attorney, hereby certify that on June 27, 2024, I filed the attached with the Clerk of

the Court using the electronic filing system which will send such filing to all attorneys of record.



                                                               /s/ James B. Zouras




                                                49
